Case 5:22-cr-00043-GAP-PRL Document1 Filed 07/19/22 Page1lof5P ED

Date: . O1 15 ao

U.S. DISTRICT COURT
GuERe DISTRICT of FLORIDA
OCALA, FLORIDA

 

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

OCALA DIVISION SE ALED

UNITED STATES OF AMERICA

v. CASE NO. 5:22-cr- 43- GAP PRL
18 U.S.C. § 922(a)(6)
RALPH FONTIL, JR. 18 U.S.C. § 922(a)(1)(A)
INDICTMENT
The Grand Jury charges:
COUNT ONE

On or about April 3, 2020, in the Middle District of Florida, the

defendant,
RALPH FONTIL, JR..,

in connection with the acquisition of a firearm, that is, a Glock firearm, from
GT Distributors Inc., a federally licensed firearms dealer, did knowingly make
a false and fictitious oroiie statement intended and likely to deceive such
dealer with respect to a fact material to the lawfulness of the sale under the
provisions of Title 18, United States Code, Chapter 44, to wit, answering
“yes” to question 11.a. on ATF Form 4473 which asks, “Are you the actual
transferee/buyer of the firearm(s) listed on this form?”, when in fact the

defendant knew he was buying the firearm on behalf of someone else.

In violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(2).
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Case 5:22-cr-00043-GAP-PRL Document1 Filed 07/19/22 Page 2 of 5 PagelD 2

COUNT TWO
On or about April 3, 2020, in the Middle District of Florida, the
defendant,
RALPH FONTIL, JR..,
knowingly made a false statement and representation to employees of GT
Distributors Inc., a federally licensed firearms dealer under the provisions of
Chapter 44 of Title 18, United States Code, with respect to information
required by the provisions of Chapter 44 of Title 18, United States Code, to be
kept in the records of GT Distributors Inc., in that the defendant did execute a
Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives
Form 4473, Firearms Transaction Record, to the effect that the defendant was
the actual transferee/buyer of a firearm, specifically, a Glock firearm, when in
truth and fact, the defendant was not the actual transferee/buyer.
In violation of 18 U.S.C. § 924(a)(1)(A).
FORFEITURE
I. The allegations contained in Counts One and Two are
incorporated by reference for the purpose of alleging forfeitures pursuant to 18
U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c).
2. Upon conviction of a violation of 18 U.S.C. §§ 922 and 924, the

defendant shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d)(1)
Case 5:22-cr-00043-GAP-PRL Document1 Filed 07/19/22 Page 3 of 5 PagelD 3

and 28 U.S.C. § 2461(c), any firearm or ammunition involved in or used in the
offense.
3. If any of the property described above, as a result of any act or

omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third
party,

G. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be

divided without difficulty,
Case 5:22-cr-00043-GAP-PRL Document1 Filed 07/19/22 Page 4 of 5 PagelD 4

the United States shall be entitled to forfeiture of substitute property pursuant

to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

 

ROGER B. HANDBERG
United States Attorney

By: ll aura Naw

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“Pe United States Attorney

 

 

Robert E. Bodnar, Jr.
Assistant United States Attorney
Chief, Ocala Division
FORM OBD-34

June 22

Case 5:22-cr-00043-GAP-PRL Document1 Filed 07/19/22 Page 5of5 PagelD 5
No. 5:22-cr-

 

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Ocala Division

 

THE UNITED STATES OF AMERICA
vs.

RALPH FONTIL, JR.

 

 

INDICTMENT

Violations: 18 U.S.C. §922(a)(6)
18 U.S.C. § 924(a)(1)(A)

N

   

Foreperson

 

 

Filed in open court this @@ day
Sw an NG
of EBB 2022.

 

Bail $

 

 
